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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF VIRGINIA
                             NORFOLK DIVISION
______________________________________________________________________________
JOHN MATTHEWS,                            )
                                          )
      Plaintiff,                          )
                                          ) CASE NO: 2-11-CV-00141-RGD-FBS
      v.                                  )
                                          )
PORTFOLIO RECOVERY                        )
ASSOCIATES, LLC,                          )
                                          )
      Defendant.                          )
__________________________________________)___________________________________

                                   NOTICE OF SETTLEMENT
       NOW COMES the Plaintiff, JOHN MATTHEWS, by and through undersigned counsel

and hereby inform the Court that a settlement of the underlying issues in the present matter has

been reached through acceptance of an Offer of Judgment by the Plaintiff. Pursuant to the Offer

of Judgment, the reasonable attorney’s fees and costs expended on behalf of Plaintiff shall be

determined by the Court.

       Plaintiff therefore requests that this Honorable Court vacate all dates currently set on

calendar for the present matter.


                                    RESPECTFULLY SUBMITTED,

                                    By: _/s/ Richard W. Ferris__________
                                    Richard W. Ferris, Esq.
                                    VSB: #31812
                                    Ferris Winder, PLLC
                                    530 East Main Street
                                    Suite 710
                                    Richmond, VA 23219
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                                    rwferris@ferriswinder.com
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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 11, 2011, I electronically filed the foregoing Notice of

Settlement with the Clerk of the Court by using the CM/ECF System. A copy of said Notice was

electronically submitted to Steve Zahn, Attorney for Defendant, by the Court’s CM/ECF system.



                                                            /s/ Richard W. Ferris
                                                            Richard W. Ferris
                                                            Attorney for Plaintiff
